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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig MDL No. 2179
“Deepwater Horizon"

in the Gulf of Mexico,

on April 20, 2010 SECTION: J

This Document Relates to:

All Cases JUDGE BARBIER
MAG. JUDGE SHUSHAN

ORDER

Considering Kevin LeMaire’s Motion for Leave to File Motion to Appoint Special
Master;

IT [S ORDERED that Kevin LeMaire’s Motion for Leave to File Motion to Appoint
Special Master is hereby GRANTED.

New Orleans, Louisiana this day of , 2014.

UNITED STATES DISTRICT JUDGE
